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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA

                    Plaintiff,
                                           CASE NO. 2:19-cr-20626-NGE-DRG
 v.

 EMANUELE PALMA,

       Defendant.
                                                /



JOINT MOTION FOR AN AMENDED PROTECTIVE ORDER BASED ON
                      STIPULATION

      In light of the Court’s Opinion and Order dated November 17, 2020 requiring

production of materials belonging to the California Air Resources Board (“CARB”)

that fall within the scope of Brady and Rule 16, the parties are seeking an amended

Order protecting from disclosure those materials to be provided by the CARB.

      A stipulation and proposed order will be submitted separately through the

utilities function on the Court’s ECF system.



Dated: March 12, 2021
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